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           16                           UNITED STATES DISTRICT COURT
                                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
           17                                SOUTHERN DIVISION
           18       MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
           19       CERCACOR LABORATORIES, INC.,                  APPLE INC.’S REPLY TO
                    a Delaware corporation,                       PLAINTIFFS’ RESPONSE TO
           20                                                     OBJECTIONS TO DIRECT
                                       Plaintiffs,                TESTIMONY OF VIJAY MADISETTI
           21
                          v.
           22                                                     Hon. Judge James V. Selna
                    APPLE INC.,                                   Trial Date: November 5, 2024
           23       a California corporation,
           24                          Defendant.
           25
           26          REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER
                                                SEAL
           27
           28       APPLE’S REPLY TO PLAINTIFFS’ RESPONSE TO OBJECTIONS TO DIRECT TESTIMONY OF MADISETTI
                                                                            CASE NO. 8:20-cv-00048-JVS (JDEX)
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Pickering Hale
and Dorr LLP
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           28       APPLE’S REPLY TO PLAINTIFFS’ RESPONSE TO OBJECTIONS TO DIRECT TESTIMONY OF MADISETTI
                                                                            CASE NO. 8:20-cv-00048-JVS (JDEX)
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             1            On October 31, 2024, Defendant Apple Inc. filed objections to the Direct
             2      Testimony of Vijay Madisetti, Ph.D. (“Madisetti Direct”). See Dkt. 2244-5. Apple has
             3      since agreed to withdraw its objections to the Madisetti Direct, except for Apple’s
             4      objections relating to paragraphs 20, 147, 149, 234, 245, and 246.
             5            With respect to paragraphs 234, 245, and 246 of the Madisetti Direct—which
             6      relate to the alleged demodulation secrets—Apple is willing to withdraw its objections
             7      on the assumption that Apple’s expert, Dr. Sarrafzadeh, will be permitted to respond to
             8      Dr. Madisetti’s opinions. Paragraphs 234 and 245-246 provide new analysis regarding
             9      the functionality of specific, newly identified source code relevant to alleged trade secret
           10       D10. To the extent Dr. Sarrafzadeh is not permitted to address these new opinions, they
           11       should be stricken from the Madisetti Direct.
           12             Apple maintains its objections to Dr. Madisetti’s testimony that the
           13
           14                                                          ,1 Madisetti Direct ¶ 20, and testimony
           15       that the                                                                  , id. ¶ 149. See
           16       generally Dkt. 2244-5 (Apple’s objections). 2
           17             Apple objects to paragraphs 20 and 149 for two related reasons. First, the Court
           18       has repeatedly ruled that testimony related to post-discovery facts should be excluded.
           19       See, e.g., 11/6/24 (AM) Trial Tr. 80:12-22; Dkt. 2288 (sustaining objection to
           20       paragraph 124 of Kiani declaration); 11/7/24 Court’s Rulings on Jeffrey H. Kinrich
           21       Direct Testimony (sustaining objections to paragraphs 22, 32 in Dkt. 2244-4). The
           22       testimony at issue here should be excluded for the same reason.
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           25       1
                     In layman’s terms, an ASIC is a chip tailor-made for a particular use (rather than a
                    generic computer component).
           26
                    2
                     Apple              s to the citation of JTX-5159 in paragraph 147, which relates to the
           27       earlier              but was not cited in Dr. Madisetti’s expert reports and should thus
                    be excl             mely disclosed. See infra p. 2.
           28
                    APPLE’S REPLY TO PLAINTIFFS’ RESPONSE TO OBJECTIONS TO DIRECT TESTIMONY OF MADISETTI
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                                                           1                CASE NO. 8:20-cv-00048-JVS (JDEX)
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             1      testimony. Adding new opinions shortly before trial is simply “too late.” Dkt. 2226 at
             2      3.
             3            Plaintiffs’ only response is to argue that Dr. Madisetti disclosed his theories on
             4                                                              and should now be permitted to
             5      apply them to the            and                . Dkt. 2304 at 1. But Plaintiffs cannot
             6      reasonably argue that                                                        , should be
             7      treated identically at this late stage when no such opinion was timely disclosed.
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                    APPLE’S REPLY TO PLAINTIFFS’ RESPONSE TO OBJECTIONS TO DIRECT TESTIMONY OF MADISETTI
Wilmer Cutler
                                                           3                CASE NO. 8:20-cv-00048-JVS (JDEX)
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             2
                    Dated: November 11, 2024               Respectfully submitted,
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             4
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           17                                              Attorneys for Defendant Apple Inc.

           18
           19                               CERTIFICATE OF COMPLIANCE

           20             The undersigned, counsel of record for Defendant Apple, Inc., certifies that this

           21       brief contains 1033 words, which:

           22             X complies with the word limit of L.R. 11-6.1.

           23             __ complies with the word limit set by court order dated [date].

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                    APPLE’S REPLY TO PLAINTIFFS’ RESPONSE TO OBJECTIONS TO DIRECT TESTIMONY OF MADISETTI
Wilmer Cutler
                                                           4                CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
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